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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


      IN RE: AQUEOUS FILM-FORMING                           MDL No. 2:18-mn-2873-RMG
      FOAMS PRODUCTS LIABILITY
      LITIGATION                                              This Document relates to:

                                                       City of Stuart, FL, v. 3M Company et al.,
                                                                  No. 2:18-cv-03487

                           JOINT MOTION FOR CONTINUANCE

       Defendant 3M Company and the Plaintiff Leadership Committee hereby request a

continuance of the trial of this case currently scheduled to begin June 5, 2023. In support of this

motion, the Parties state as follows:

       1.      On October 26, 2022, the Court appointed the Hon. Layn R. Phillips (ret.) to serve
               as a Court-appointed mediator (“Mediator”) to assist the parties. The Court ordered
               that the Mediator facilitate and encourage discussions among and between the
               parties as he deems necessary and appropriate, and as he may be directed by the
               Court.

       2.      Since October 26, 2022, the Mediator has supervised mediation among outside
               counsel for 3M and Plaintiffs’ Co-Lead Counsel.

       3.      Plaintiffs’ Co-Lead Counsel and outside counsel for 3M have negotiated in good
               faith.

       4.      The parties are making material and significant progress toward a resolution and
               believe that their time would be more productively spent attempting to resolve the
               matter and therefore jointly request a continuance.

Dated: June 4, 2023                                Respectfully submitted,

 s/ Michael A. London                              s/Brian C. Duffy
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